
80 So. 3d 453 (2012)
Lillian ARNOLD, Appellant,
v.
Robert E. ARNOLD, Appellee.
No. 2D09-2664.
District Court of Appeal of Florida, Second District.
February 24, 2012.
Mark A. Neumaier, Tampa, for Appellant.
David J. Plante and Danielle M. DuBow of The Plante Law Group, PLC, Tampa, for Appellee.
PER CURIAM.
Affirmed. See Esaw v. Esaw, 965 So. 2d 1261 (Fla. 2d DCA 2007) (holding that the lack of findings supporting an equitable distribution of marital property was not reversible error where the appellant failed to provide a transcript of the hearing or an acceptable substitute).
KELLY, LaROSE, and KHOUZAM, JJ., Concur.
